                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

 United Cook Inlet Drift Association, et al. v. National Marine Fisheries Service, et al.
                           Case No. 3:21-CV-00255-JMK

                     JOINT APPENDIX TABLE OF CONTENTS

Doc
No. Record Description           Document Description
                                 Delegations of authority from the NOAA
                                 Administrator to the Assistant Administrator for
 1   AKR0000001 - 11             Fisheries
                                 Approval of delegations of authority from the NOAA
                                 Administrator to the Assistant Administrator for
 2   AKR0000012                  Fisheries
                                 Delegations of authority from the Secretary of
 3   AKR0000013 - 24             Commerce to the NOAA Administrator
                                 Assistant Administrator for Fisheries approval of the
 4   AKR0000025 - 27             Amendment 14 Final Rule
 5   AKR0000028 - 33             Decision memo for Amendment 14 FMP amendment
 6   AKR0000034 - 39             Decision memo for Amendment 14 Final Rule
                                 Final EA/RIR for Amendment 14 to the FMP for the
 7   AKR0000040 - 504            Salmon Fisheries in the EEZ off Alaska
                                 UCIDA Letter re Amendment 14 to the Alaska
 8   AKR0000572 - 592            Salmon Fishery Management Plan
 9   AKR0000594 - 672            Public Comments to the NPFMC
                                 Email: op ed piece on NPFMC action in Cook Inlet
10   AKR0000683 - 685            with attachment
11   AKR0000692 - 693            Email RE: Interview Request
                                 Alaska Dept. of Fish and Game Media/Press Contact
12   AKR0000700 - 701            Notification
                                 Email RE: Draft Alt and talking points with
13   AKR0000702 - 707            attachment
14   AKR0000708                  Email RE: AP Salmon FMP Motion
                                 Email RE: Draft Alt and talking points with
15   AKR0000709 - 714            attachment
16   AKR0000723                  Email FW: C-2 most recent
17   AKR0000724 - 730            Email Re: FW: Draft C-2 with attachment
18   AKR0000901 - 909            Declaration of Jeff Fox
                                 UCIDA Letter re Amendment 12 to the Alaska
19   AKR0000928 - 957            Salmon Fisheries Management Plan
20   AKR0000960 - 977            Declaration of Erik Huebsch


                                  1
      Case 3:21-cv-00255-JMK Document 62 Filed 04/15/22 Page 1 of 4
Doc
No. Record Description     Document Description
                           Upper Cook Inlet Commercial Fisheries Annual
21   AKR0000982 - 983      Management Report No. 18-10 for 2017 (excerpt)
                           Advisory Announcement: 2020 Upper Cook Inlet
22   AKR0001052 - 1053     Commercial Salmon Fishery Season Summary
23   AKR0001085 - 1090     UCIDA Letter re 2020 Economic Disaster Declaration
                           U.S. Dept. of Commerce Letter re Determination of a
24   AKR0001128 - 1129     Commercial Fishery
                           Pacific Legal Foundation Public Comments Letter to
25   AKR0001330 - 1331     Glenn Merrill (excerpt)
26   AKR0001444 - 1448     Decision Memorandum for Amendment 14 Final Rule
                           Draft Environmental Assessment and Regulatory
     AKR0001554 - 1558;    Impact Review published with the Amendment 14
27   AKR0001731 - 1733     Proposed Rule (excerpts)
                           Fishery Management plan text revisions for
28   AKR0001912 - 1919     Amendment 14
                           Status report on the development of a salmon FMP
29   AKR0001950 - 1951     amendment to address Cook Inlet, February 2021
                           Status report on the development of a salmon FMP
30   AKR0001952            amendment to address Cook Inlet, June 2021
31   AKR0006543 - 6546     Email: Potential draft salmon motion with attachment
                           Email RE: Potential draft salmon motion with
32   AKR0006547 - 6550     attachment
                           Email RE: Potential draft salmon motion with
33   AKR0006551 - 6555     attachment
34   AKR0006584 - 6585     Email Re: FW: Draft motion for Salmon FMP
                           Email Re Cook Inlet Salmon Workgroup Meeting
35   AKR0006642            (excerpt)
                           Email FW: Federal Salmon FMP - Cook Inlet
36   AKR0006659 - 6660     amendment Alt 4
                           Email: Analysis of closing the Cook Inlet EEZ to
37   AKR0006662 - 6663     commercial salmon fishing
                           Email RE: Analysis of closing the Cook Inlet EEZ to
38   AKR0007038 - 7039     commercial salmon fishing
39   AKR0007045            Email: Salmon FMP Amendment SDC edits
                           Email: schedule for revisions and review of the
40   AKR0007104            Salmon FMP Public Review Document
                           Email: Supplemental Questions for ADF&G with
                           Respect to Alternative 4 for the Salmon FMP
41   AKR0007105            Assessment



                                  2
      Case 3:21-cv-00255-JMK Document 62 Filed 04/15/22 Page 2 of 4
Doc
No. Record Description     Document Description
                           Appendix: Responses to Questions from the Salmon
42   AKR0007130 - 7133     FMP Analytical Team re the Impacts of Alternative 4
43   AKR0007281            Email Re: Equity Issue
44   AKR0007301 - 7319     Transcript of NPFMC Meeting, Dec 2020
45   AKR0013023            Email Re: need a quick answer please
                           Alaska Dept. of Fish and Game Letter to Murkowski,
46   AKR0013024 - 13025    Sullivan and Young
                           Link to Audio Recording of December 2020 Council
47   AKR0013740            Meeting
48   AKR0013784 - 13788    Amendment 12 Proposed Rule
49   AKR0013789 - 13807    Amendment 12 Final Rule
50   AKR0013812 - 13821    Amendment 14 Proposed Rule
51   AKR0013822 - 13842    Amendment 14 Final Rule
52   AKR0014758 - 14766    NPFMC Newsletter, April 2017
53   AKR0014902 - 14919    Letter re UCIDA Comments on Agenda Item C2
54   AKR0014925            C-2 Salmon FMP Council Motion, April 2017
55   AKR0015107 - 15108    NMFS Letter re removal of West Area EEZ
                           NOAA Memorandum re Scope of SMP for EEZ
56   AKR0015109            (excerpt)
                           NPFMC Cook Inlet Salmon Committee Report, April
57   AKR0015220 - 15223    2019
     AKR0015497;           NPFMC Scientific and Statistical Committee Report,
58   AKR0015505 - 15506    April 2019 (excerpts)
59   AKR0015532 - 15533    NMFS Letter re Council Action re Amendment 14
     AKR0016424;           NPFMC Advisory Panel Minutes, Nov - Dec 2020
60   AKR0016427 - 16428    (excerpts)
                           Letter re UCIDA Comments on Agenda Item C2
61   AKR0016537 - 16538    (excerpt)
                           C4 NPFMC Cook Inlet Salmon Committee Report,
62   AKR0017660 - 17680    May 2020
                           C4 NPFMC Cook Inlet Salmon Committee, Report
63   AKR0017681 - 17689    Feb 2020
64   AKR0017690            C4 Cook Inlet Salmon Committee Motion, June 2020
                           C4 Cook Inlet Salmon FMP Amendment Motion, June
65   AKR0017691 - 17692    2020
                           C4 Cook Inlet Salmon Preliminary Review
66   AKR0017693 - 17722    Presentation, June 2020
     AKR0018043;           Final Report of the Scientific and Statistical
67   AKR0018059 - 18060    Committee, June 2020 (excerpts)



                                  3
      Case 3:21-cv-00255-JMK Document 62 Filed 04/15/22 Page 3 of 4
Doc
No. Record Description     Document Description
                           North Pacific Council Agenda Item: C-8 Salmon
68   AKR0018367 - 18368    FMP, Oct 2017
69   AKR0018390 - 18391    Judgment in 3:13-cv-00104-TMB
                           NPFMC Council Motion re D5 Cook Inlet Salmon
70   AKR0018504            FMP, Oct 2019
                           C4 Cook Inlet Salmon Initial Review - Council
71   AKR0018654 - 18674    Presentation by Doug Duncan, Oct 2020
     AKR0018677;           NPFMC Scientific and Statistical Committee Final
72   AKR0018710 - 18712    Report, Sept - Oct 2020 (excerpts)
                           NPFMC C4 Cook Inlet Salmon Action Memo, Oct
73   AKR0018833 - 18834    2020
     AKR0018891;           C4 Cook Inlet Salmon Review, October 2020
74   AKR0018979            (excerpts)
                           C4 Cook Inlet Salmon FMP Amendment Motion, June
75   AKR0019261 - 19262    2020
                           C-4 Cook Inlet Salmon FMP Council Motion, Oct
76   AKR0019263            2020
                           NMFS Letter announcing approval of Amendment 14
77   AKR0019264            to the Salmon FMP
     AKR0019955;
     AKR0019969 – 19970;
78   AKR0020136            Fishery Management Plan, April 1990 (excerpts)
79   SUPP0000001           Request for Personnel Action (excerpt)
                           Alaska Dept. of Fish and Game Letter re NPFMC
80   SUPP0000003           Designees
                           Oregon Dept. of Fish and Wildlife Letter re NPFMC
81   SUPP0000005           Designee
                           Washington Dept. of Fish and Wildlife Letter re
82   SUPP0000006           NPFMC Designee (excerpt)
     SUPP0000009;          NPFMC Meeting Summary of 252nd Plenary Session,
83   SUPP0000013           Dec 2020 (excerpts)




                                  4
      Case 3:21-cv-00255-JMK Document 62 Filed 04/15/22 Page 4 of 4
